Case 3:12-cv-00064.. Document 37-2 Filed on 09/05/12 in TXSD Page 1 of 8

Medical Records Obtained by Authorization
From Galveston County EMS
PO Box 939

La Marque, TX 77568

Pertaining to Raymond Luther Allen

For Anthony G. Buzbee

Nell McCallum & Associates, Inc.

19368.005
Case 3:12-cv-00064.. Document 37-2 Filed on 09/05/12 in TXSD Page 2 of 8

AFFIDAVIT

Records Pertaining To: Raymond Luther Allen

Type of Records: Any and all records FOR 2/27/2012 whether medical records generated by your facility or otherwise,
including but not limited to, photographs, x-ray reports, pathology reports, correspondence, notes, memoranda,
consultation reports, test results, and other written records and information in the possession of or subject to the control
of the witness pertaining to Raymond Luther Allen, DOB: 08/30/1977.

Before me, the undersigned authority, personally appeared CY WwW = - WHOS OmMN, ;
who, being by me duly sworn, deposed as follows: (Custodian of Records)

My name is VY ocr So vw CS QY>__, lam over eighteen (18) years of age, of sound
mind, capable of making this affidavit, and personally acquainted with the facts herein stated:

I am the Custodian of Records for: Galveston County EMS

Attached hereto are . Zt pages of records pertaining to Raymond Luther Allen from this facility. These said records are
kept in the regular course of business, and it was the regular course of business for an employee or representative of this facility,
with knowledge of the act, event, condition, opinion, or diagnosis, recorded to make the record or to transmit information thereof
to be included in such record; and the record was made at or near the time or reasonably soon thereafter. The records attached
hereto are the original or exact duplicates of the original.

AY DL <
: IW ADS
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AFFIANT (Custodian of Récords)

Sworn to and subscribed before me on the | | day of hA fy ; 20) 2 a

Oe, LORA A. FRANKLIN {i NOTARY PUBLIC

SS) 2% Notary Public, State of Te%9s ; ,

zh i= = MyCommission Expires |} oo, : - c

Sle ees ‘November 29, 2012 i My Commission Expires: / [ z ? cf ae
any ANN sass :

Order No. 19368.005 -
Case 3:12-cv-00064_ Document 37-2 Filed on 09/05/12 in TXSD Page 3 of 8

I, Laura Beth Hataway, a Notary Public in and for the State of Texas, do hereby certify
that the foregoing Testimony of the Witness, Mona Sampson, after said witness was duly sworn

by Lora A. Franklin was delivered to Nell McCallum & Associates, Inc.

I further certify that said Original Answers are being delivered to Anthony G. Buzbee, the

requesting attorney, for safekeeping and use at trial.

Given under my hand and seal of office on May 16, 2012.

Notary Public O

Nell McCallum & Associates, Inc.
Beaumont/Houston, Texas

19368.005
Case 3:12-cv-00064 Document 37-2 Filed on 09/05/12 in TXSD Page 4 of 8

Nell McCallum & Associates, Inc.
has verified that these records are complete

and the best possible quality
Case 3:12-cv-00064_ Document 37-2 Filed on 09/05/12 in TXSD Page 5 of 8

Galveston Area Ambulance Authority

Patient Care Record
Name: ALLEN, RAYMOND

Incident #: 201200001562

Date: 02/27/2012

Patient 1 of 1

Sane Bg eer Tk arg ete eencci Ba teenage cls Telielaut=\((e)s semmuceans pete seen) tances eaten kes erate ii wes ieee er as eee at TaN Srey COdlial(e=li ti less (elat peasinatimatcosgi Se Bete g otc the tecece
Last ALLEN Address Primary Impression Cardiac Arrest —
First RAYMOND Address ‘2 Secondary Impression .| Respiratory Arrest
Middle City Protocol Used
Gender. -| Male State Anatomic Position
DOB 08/30/1977 Zip Chief Complaint
Age 34 Yrs, 5 Months, 28 Days Country US Duration f [Units |
Weight. |220lbs - 100kg Tel Secondary Complaint
i SSN Physician Duration [Units |
: Cardiac - Cardiac Arrest
| Respiratory - Arrest
: Advanced Directive Signs & Symptoms
Resident Status Injury _-
| Medical/Trauma
Barriers of Care None
{Alcohol/Drugs - Use

Medications

ata eee eet eee tin ete aa ia

Patient Admits to Drug

Unknown

Allergies Unknown
History Unknown
Time AVPU _| Side | POS BP Pulse RR SPO2_|ETCO2| CO BG Temp Pain GCS _ |. RTS | PTS
11:22 U Lay / OA 12V 3/NQ
11:28 U Lay / OA 2V 3/
11:29 U Lay I OA 2V 3/
:38 U Lay / OA 2V 3/
43 U Lay iM 98 | 2V. 3/
:45 U La / OA 2V 3/|
Time 3-Lead ECG 12-Lead ECG
1:22 Asystole
28 PEA
129 Asystole
38 Asystole
43 Atrial Fibrillation w/ PVC
5 Atrial Fibrillation w/ PVC
ere oee reee on ~

Treatment Description Pri

11:22 |Oxygen BVM; Flow Rate 15 lpm; Patient Response: Unchanged PEREZ, DAMARIS D
11:22 |Intraosseous Big lO; Tibia - Right; Normal Saline; Total Fluid ; Patient Response: Unchanged; Unsuccessful eee”

’__|7.5, Placed At 23 cm; Placement Verfication: Chest Rise, Colorimetric CO2, Lung Sounds, No Epigastric RICHARDSON,
11:23 | Orotracheal Intubation Sounds, Cords Visualized, Patient Response: Improved; Successful JOSEPH K
11:23 |Intraosseous EZ-IO (Adult); Tibia - Left: Normal Saline; Total Fluid 200; Patient Response: Unchanged; Successful FREGIA, WILLIAM P
11:25 _|IV Therapy 18 ga; External Jugular-Right; Normal Saline; Patient Response: Unchanged; Unsuccessful FREGIA, WILLIAM P
11:25 | Epinephrine 1:10 1 mg; Intravenous; Patient Response: Improved TEC on
11:27_|IV Therapy 18 ga; Antecubital-Right; Normal Saline; Total Fluid ; Patient Response: Unchanged; Unsuccessful WEBER, DANNY L
11:28 |Epinephrine 1:10 1 mg; Intravenous; Patient Response: Improved Beni
11:29 {IV Therapy 18 ga; External Jugular-Left; Normal Saline; Total Fluid 500; Patient Response: Improved; Successful WEBER, DANNY L

‘i : + « . : : . RICHARDSON,
11:30 | Epinephrine 1:10 1 mg; Intravenous; Patient Response: Improved JOSEPH K

3 . ‘ i : : ‘ 3 RICHARDSON,
11:39 {Epinephrine 1:10 1 mg; Intravenous; Patient Response: Improved JOSEPH K

. . : . RICHARDSON,
11:45 |Cooling Patient Response: Improved JOSEPH K
11:48 |Dopamine 10 mcg/kg/min; Intravenous; Patient Response: Improved Ac

Hospital Chart Number: 3000
Patient Number: 346705N

1643128 Page 1 of 3

03/06/2012 10:22
Case 3:12-cv-00064__Document 37-2 Filed on 09/05/12 in TXSD Page 6 of 8

Galveston Area Ambulance Authority

Patient Care Record

Name: ALLEN, RAYMOND Incident #: 201200001562 Date: 02/27/2012 Patient 1 of 1
= ACEP!
‘Category Comments Abnormalities
Mental Status Mental Status |@Unresponsive
Skin Skin No Abnormalities
HEENT Head/Face No Abnormalities
Eyes ®Left Pupil: 6-mm, Left: Dilated, Left: Non-Reactive, Right Pupil: 6-mm,
Right: Dilated, Right: Non-Reactive
Neck No Abnormalities
*1Chest Chest No Abnormalities
Heart Sounds No Abnormalities
Lung Sounds No Abnormalities
Abdomen General “No Abnormalities
Left Upper No Abnormalities
Right Upper No Abnormalities
Left Lower No Abnormalities
Right Lower No Abnormalities
Back Cervical No Abnormalities
Thoracic No Abnormalities
Lumbar/Sacral No Abnormalities
Pelvis/GU/GI Pelvis/GU/GI No Abnormalities
Extremities Left Arm No Abnormalities
Right Arm No Abnormalities
Left Leg No Abnormalities
Right Leg No Abnormalities
Pulse @ Brachial: Absent, Carotid: 1+ Thready, Femoral: 1+ Thready, Radial:
Absent
Capillary Refill Not Assessed
Neurological Neurological Not Assessed

Assessment Time:

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Dispatched to assist PD. Dispatched normal traffic. Ordered to emergency traffic as ambulance approached 61st and Broadway by dispatch because PT was now
unconscious. Upgraded traffic. Arrived to find PT lying supine with GFD R5 crew preparing to begin CPR. PT is pulseless and apneic. GFD is performing CPR.
CPR is continuously given with breaks every 2 minutes for pulse and rhythm checks. Began ventilating PT with BVM. PT on monitor in asystole. Failed 1O attempt
performed with Bone Injection Gun. Intubation performed and tube secured. IO inserted with EZ-IO. Medications administered per flowchart and rhythm changes
per vital signs. Was told by a PD officer on scene that the PT was drive stunned. Was also told by PD officer that PT admitted to cocaine use today. Following
third administration of Epi the PT was moved to scoop stretcher and secured. Taken to stretcher and secured. Taken to ambulance and loaded. Diminished
breath sounds on the left. Tube has been pushed in to 24 cm. Tube withdrawn to 23 cm and secured. Code 3 to JSER with GFD driver and GFD FF in back. At
11:43 pulse returns. Unable to auscultate BP, carotid and femoral pulse present but no brachial or radial pulse. Initiated Post-resuscitation hypothermia protocol.
Cold fluid administered and cold packs are placed in armpits and groin. Administered Dopamine per flow chart. Arrived and unloaded. PT taken to JSER102.
Pulse lost during transfer and is quickly regained. Report to RN and PT care turned over to JSER staff.

= 2). = ee eye ee eat eects 5

Cardiac Arrest Yes, Prior to EMS Arrival Prearrival CPR Instructions '|No “| — In Field Pronouncement _

Cardiac Arrest Etiology First Defibrillated By Not Applicable Expired No
Estimated Time of Arrest 4-6 Minutes . Time of First Defib ; Time
Est Time Collapse to 911.__|0 Minutes Initial ECG Rhythm Asystole Date
Est Time Collapse to CPR _|4 Minutes Rhythm at Destination Atrial Fibrillation/Flutter Physician
Arrest Witnessed By Bystander Hypothermia Yes
CPR Initiated By First Responder End of Event Ongoing Resuscitation in ED
Tme 1st CPR ROSC a Prior to ED Arrival and at the
CPR Feedback ROSC Time 11:43 02/27/2012
ITD Used ROSC Occured After ALS
Applied AED No Resuscitation Discontinued {11:43 02/27/2012
Applied By Discontinued Reason Return of Spontaneous Circulation (pulse or BP noted)
so Resuscitation Attempted - Yes; Attempted Ventilation, Initiated

Defibrillated No Resuscitation Chest Compressions

Hospital Chart Number: 30001643128 Page 2 of 3 03/06/2012 10:22

Patient Number: 346705N
Case 3:12-cv-00064. Document 37-2 Filed on 09/05/12 in TXSD Page 7 of 8

Galveston Area Ambulance Authority

Patient Care Record

Name: ALLEN, BAYMONO Incident #: 201200001562 fates dzieTi20 12 Patient 1 of 1
; ‘ See See te ed l=) eth else eee ean mee EAS eee UA eee a

Location Disposition rrenspered Lights/Siren Call Received {11:16:00 _
Address 2827 6ist Transport Due To Distance Dispatched 11:16:00
Address 2 Transported To UTMB- ED En Route 11:17:00
City Galveston Requested By Law Enforcement Resp on Scene

State TX Destination Hospital ER On Scene 11:21:00
Zip 77551 Address 301 UNIVERSITY BLVD At Patient 11:21:00
|Medic Unit Medic 3 Address 2 Depart Scene | 11:41:00
Run Type 911 Response (Emergency) City Galveston At Destination {11:49:00
[Priority Scene No Lights/Sirens, Upgraded State TX Pt. Transferred

Shift "C" Shift Zip 77555 ncident Close | 12:25:00
Zone 03 - W of 45th to 8 Mile Rd. Zone n District

Level of Service Condition at Destination

Destination Record #

ee ee ee ane aaaC ae aie RE ee EE Te eee ee

Personnel Role

RICHARDSON, JOSEPH K Lead MT-Paramedic-135851;
PEREZ, DAMARIS D Driver IEMT-Basic-705187;
FREGIA, WILLIAM P 2nd EMrPeramede 24027
; SEER. DANNY L. Other_ MT-Paramedic-24327;

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ene ee ere ne eee

Pee eel Ce a= Le TERRES a

Teureds Name Meamery Paver Dispatch Nature
Relationship To Patient Medicare Response Urgency
nsured SSN Medicaid Job Related Injury
nsured DOB Primary Insurance Employer
Address1 Policy # Contact

Address2 Group # “ Phone

Address3 Secondary Ins

City Policy #

State Group #

Zip

Country

Scene 1.0 Category Caledon Fire Galveston PD,Galveston Sheriff
|Destination 7.0 Dispatch Delays None | Office

Loaded Miles .|6.0 Response Delays {Other

Start 0.0 Scene Delay Other

End 7.0 Transport Delays _|None

Total Miles 7.0 Turn Around Delays} Equipment Replenishment

Next of. Kin Name

Relationship to Patient Address2

Phone Address3

2 slaty (aj mg Bf reife: 5

PAN Sending Physician

PCS Sending Record #

ABN Receiving Physician

CMS Service Level Condition Code

ICD-9 Code Condition Code Modifier

Transfer Reason

Other/Services

Medical Necessity

Hospital Chart Number: 30001643128 Page 3 of 3 03/06/2012 10:22

Patient Number: 346705N
Case 3:12-cv-00064._ Document 37-2 Filed on_09/05/12 in TXSD Page 8 of 8

THE BUZBEE LAW FIRM
JPMorgan Chase Tower
600 Travis, Suite 7300
Houston, Texas 77002
713-223-5393
713-223-5909 (Fax)

_Authorization For Use or Disclose Protected Health Information

As required by the Health Information Portability and Accountability Act of 2003 (HIPAA) and Texas Law; this practice
may not use or disclose your individually identifiable health information except as provided in our Notice of Privacy
Practices without your authorization. Your completion of this form means that you are giving permission for the uses and
disclosure described below. Please review and complete this form carefully. It may be invalid if not fully completed.

You may wish to ask the person or entity you want to receive your information to complete the sections detailing the
information to be released the purposes for the-disclosure.

I hereby authorize MD auestone County EMS -to use and disclose health

information concerning: (Patient Name) LK AY Mon 1D Zh UTHESC 4A. LLELY
Address:

4 Any and all health information, including, but not limited to, itemized billing, mental health Fecords, drug
and/or alcohol abuse records and/or HIV test results, if any, |

A A psychstherapy notes may be released’ except as specifically provided below:

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ous, eae ASG due atin wut records o pemariant. ;
This health'information may ‘be disclosed to: THE BUZBEE LAW FIRM 3 LV MELL Capit ¥- ESSE

This information may be used only for the following purposes: LEGAL LITIGATION

I understand that 1 may revoke this authorization at any time notifying this medical practice in writing. My revocation
will not affect actions taken by this medical practice prior to its receipt.

T understand that if neither federal nor Texas privacy law apply to the recipient of this information, the information
disclosed pursuant to this authorization may be re-disclosed by the recipient and no longer protected by federal law.

I understand that my health care treatment or benefits will not be affected whether I sign or do not sign this form and I
have the right to receive a copy of this authorization.

This authorization is effective now and will remain effective until ZWD OF £I771GA 7700

, : (Expiration Event or Date)
Signed: NOR (Ue Dated: EG 4 [p

Print Name: Sa PING _
DOB: G-2-1¢Y SN:

If not signed by the patient, Relationship: U Paren?6r Guardian U Guardian/Conservator of incompetent patient a
eneficiary or Personal Representative of deceased patient

Name ek Kau MDA Luther Allen De® 30147

NOTE: A Photocopy of This HIPAA Shall Have The Same Effect As An Original “

